Case 22-50073          Doc 4222         Filed 03/17/25        Entered 03/17/25 16:41:02                  Page 1 of 2



                             UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF CONNECTICUT
                                   BRIDGEPORT DIVISION


--------------------------------------------------------------x
                                                              :
In re:                                                        : Chapter 11
                                                              :
HO WAN KWOK, et al.,                                          : Case No. 22-50073 (JAM)
                                                              :
                  Debtors.1                                   : Jointly Administered
                                                              :
--------------------------------------------------------------x

  SUPPLEMENTAL ORDER GRANTING THIRD INTERIM FEE APPLICATION
 OF PRAGER DREIFUSS AG, AS SWISS LAW COUNSEL, FOR COMPENSATION
AND REIMBURSEMENT OF EXPENSES FOR PERIOD FROM SEPTEMBER 19, 2024
                   THROUGH DECEMBER 31, 2024

        Upon consideration of the Application (the “Application”) of Prager Dreifuss AG

(“Prager”), as Swiss law counsel for Luc A. Despins, in his capacity as the chapter 11 trustee (the

“Trustee”) appointed in the chapter 11 case of Ho Wan Kwok (the “Debtor”),2 for interim

allowance of compensation and reimbursement of expenses from September 19, 2024 through

December 31, 2024; and sufficient notice having been given; and a hearing having been held on

February 27, 2025; and the Court having entered an order granting the Application [Docket No.

4181] (the “Original Fee Order”) as to the compensation of fees in the amount of CHF

277,920.00 and reimbursement of expenses in the amount of CHF 5,558.35 (on account of the

2% flat fee for disbursements), but deferring its ruling as to the CHF 8,950.00 in expenses

incurred on account of services provided by third party vendors (the “Third Party Vendor


1
    The Debtors in these chapter 11 cases are Ho Wan Kwok (also known as Guo Wengui, Miles Guo, and Miles
    Kwok, as well as numerous other aliases) (last four digits of tax identification number: 9595), Genever
    Holdings LLC (last four digits of tax identification number: 8202) and Genever Holdings Corporation. The
    mailing address for the Trustee, Genever Holdings LLC, and Genever Holdings Corporation is Paul Hastings
    LLP, 200 Park Avenue, New York, NY 10166 c/o Luc A. Despins, as Trustee for the Estate of Ho Wan Kwok
    (solely for purposes of notices and communications).
2
    Capitalized terms not otherwise defined herein adopt the definitions set forth in the Application.
Case 22-50073   Doc 4222   Filed 03/17/25   Entered 03/17/25 16:41:02   Page 2 of 2
